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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )          2:06cr71-MHT
                                   )
BERNETTA LASHAY WILLIS             )

                                ORDER

    It is ORDERED that attorney MiAngel Cody’s motion

for leave to appear pro hac vice (Doc. 469) as counsel

for defendant Bernetta Lashay Willis is granted.

    DONE, this the 17th day of October, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
